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   1                                                                                       JS-6
                                     UNITED STATES DISTRICT COURT
   2
                                   CENTRAL DISTRICT OF CALIFORNIA
   3
       TAILAI TING, an individual,                        CASE NO.: 8:16-cv-01651-DOC-KES
   4
                      Plaintiff,
   5                                                      ORDER DISMISSING
              vs.                                         MATTER BECAUSE CONFIDENTIAL
   6                                                      SETTLEMENT AGREEMENT
   7 GIZMO SUPPLY CO, a California                        REACHED [58]
     Corporation;
   8 PETER VONG, an individual;
     THERESA VONG, an individual;
   9 THERESA MY HANH NGUYEN, an

  10 individual; and
     DOES 1-10,
  11
                     Defendants.
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  14                                        ORDER

  15          The Parties having stipulated to reaching and agreeing to a Confidential Settlement
  16 Agreement, with an effective date of August 23, 2017, with respect to this matter,

  17          NOW ON THIS day the above-captioned matter comes before the Court. The Court, after
  18 being fully advised on this matter and after reviewing the court file, finds and orders as follows:

  19          IT IS ORDERED that this matter shall be administratively closed after the entry of this
  20 Order, but the Court shall retain jurisdiction and venue over the parties solely with respect to

  21 enforcement of the Confidential Settlement Agreement between the parties and any disputes or

  22 controversies that may arise with regard thereto, which shall be exclusively brought before this

  23 Court for resolution thereof.

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              IT IS FURTHER ORDERED that this matter is hereby dismissed, with prejudice.
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              IT IS SO ORDERED.
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                                     ORDER DISMISSING MATTER
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   2 Date: August 25, 2017

   3                                      DAVID O. CARTER
                                          United States District Judge
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                             ORDER DISMISSING MATTER
